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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  AMO DEVELOPMENT, LLC,
  AMO MANUFACTURING USA, LLC
  and AMO SALES AND SERVICE,
  INC.,

                   Plaintiffs,
                                          C.A. No. 20-842 (CFC)
        v.

  ALCON LENSX, INC.,
  ALCON VISION, LLC,
  ALCON LABORATORIES, INC. and
  ALCON RESEARCH, LLC,

                   Defendants.

  ALCON INC., ALCON LENSX, INC.,
  ALCON RESEARCH, LLC, and
  ALCON VISION, LLC,

                   Counter-Plaintiffs,

        v.

  AMO DEVELOPMENT, LLC,
  AMO MANUFACTURING USA, LLC
  AMO SALES AND SERVICE, INC.,
  and JOHNSON & JOHNSON
  SURGICAL VISION, INC.

                   Counter-Defendants.



                    STIPULATED PROTECTIVE ORDER

        Plaintiffs and Counterclaim Defendants AMO Development, LLC, AMO

  Manufacturing USA, LLC, AMO Sales and Service, Inc., and Johnson & Johnson
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  Surgical Vision, Inc. (collectively, “J&J Surgical Vision”) and Defendants and

  Counterclaim Plaintiffs Alcon Inc., Alcon LenSx, Inc., Alcon Vision, LLC, Alcon

  Laboratories, Inc., and Alcon Research, LLC, (collectively, “Alcon”) (J&J Surgical

  Vision and Alcon, each, a “Party”) assert that they possess confidential information

  in the form of trade secrets or other confidential and proprietary business, research,

  development, financial, personal, and/or technical information related to the subject

  matter of the above-captioned litigation (“Action” or “Proceeding”). The Parties

  recognize that it may be necessary to disclose certain of the asserted confidential

  information during the course of this litigation. As a result, the Parties desire limiting

  disclosure and preventing use of such information for any purposes other than the

  prosecution and defense of this litigation. In addition, the Parties contemplate that

  non-parties may produce confidential information. Pursuant to Rule 26(c) of the

  Federal Rules of Civil Procedure, the Parties, by and through their respective

  undersigned counsel, hereby stipulate and agree to the request for, and entry of, the

  following Protective Order (hereinafter, “Order”).

  1.    SCOPE

        (a)    This Order governs all Confidential Material, including “Highly

  Confidential Material—Attorney Eyes Only” and “Confidential Source Code—

  Attorney Eyes Only,” designated pursuant to this Order.




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        (i)    “Confidential Material” means any hardcopy or electronic document,

               information, testimony (i.e., depositions, declarations, or other pre-trial

               statements in this Proceeding), and all copies, data, extracts,

               compilations, summaries, reports, and information obtained, derived,

               or generated from such material that the Designating Party reasonably

               believes to be entitled to confidential treatment under Federal Rules of

               Civil Procedure 26(c)(1)(G) or other applicable laws or regulations.

               Confidential Material includes, but is not limited to, trade secrets (as

               defined in the Uniform Trade Secrets Act); other confidential research,

               development, or commercial information; all information that, if

               disclosed, could result in competitive, commercial, or business harm;

               and any person’s personal identifying information, financial

               information, medical/insurance information, or other information that

               is private under applicable laws or regulations.

        (ii)   “Highly    Confidential    Material—Attorney       Eyes   Only”     means

               Confidential Material that the Designating Party reasonably believes to

               contain information the disclosure of which would cause the

               Designating Party serious competitive and commercial harm, including

               core technical documents describing the functionality of the accused

               products, financial information, and future business plans. Unless



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                otherwise specified, provisions in this Order regarding “Confidential

                Material” shall also encompass “Highly Confidential Material—

                Attorney Eyes Only.”

        (iii)   “Confidential Source Code—Attorney Eyes Only” means Confidential

                Material that comprises or includes confidential, proprietary, or trade

                secret Source Code, as detailed herein, as well as in the Parties’ Pre-

                Discovery Confidentiality Agreement, adopted herein by reference and

                attached as Exhibit C. “Source Code” shall mean source code (i.e.,

                computer instructions and data definitions expressed in a human-

                readable form), as well as any and all programmer notes, annotations,

                files, and other comments of any type describing, explaining, and/or

                accompanying the code. Unless otherwise specified, provisions in this

                Order regarding “Confidential Material” shall also encompass

                “Confidential Source Code—Attorney Eyes Only.”

        (b)     This Order is binding upon all current and future Parties in this Action

  (including their respective corporate parents, subsidiaries, affiliates, successors, and

  attorneys and all other representatives or agents), their counsel, and all signatories

  to Exhibit A, the Non-Disclosure Agreement (deemed to be part of this Order), and

  all other persons or entities authorized under this Order or any other Order of this

  Court to receive or view Confidential Material.



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        (c)    The entry of this Order does not preclude any Party in this Action from

  seeking further order of this Court, including modification of this Order, or from

  objecting to discovery that the Party believes to be improper.

        (d)    Nothing herein shall be construed as an admission or concession by a

  Designating Party that any Confidential Material constitutes relevant, material, or

  admissible evidence in this matter.

  2.    DESIGNATION OF CONFIDENTIAL MATERIAL; FAILURE TO
        MAKE DESIGNATIONS

        (a)    Documents Produced in Image, PDF, or Hardcopy Form (“Image”).

  The Designating Party shall place on each page the following legend: SUBJECT TO

  PROTECTIVE ORDER; or ATTORNEY EYES ONLY, SUBJECT TO

  PROTECTIVE ORDER. The legend shall not obscure any content of the original

  document. Any person making a copy of the Image, if authorized under this Order,

  shall ensure that the same legend shows on the copy.

        (b)    Documents Produced in Native Format (“Native File”). A Designating

  Party shall rename each Native File to include, at the end of the file name and prior

  to the file extension, the following language: PROTECTED or PROTECTED—

  ATTORNEY EYES ONLY. Any person making any copy of the Native File, if

  authorized under this Order, shall not rename the file.




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        (c)    Deposition Testimony and Exhibits.

               (i)     Following any deposition and for 30 days after the Parties’

  counsel have received from the court reporter a final copy of a deposition transcript,

  all testimony, transcripts, and exhibits shall constitute Confidential Material.

  Thereafter, the transcript, or portions of transcripts, or exhibits designated as

  Confidential Material shall remain subject to this Order. In addition, no further

  actions need be taken regarding any exhibit previously designated as Confidential

  Material.

               (ii)    Confidential Material designated before or at a deposition shall

  not be shown to a witness who is not a Qualified Person as described below, and

  persons attending the deposition who are not Qualified Persons may be excluded

  from the portions of the deposition during which Confidential Material is disclosed.

               (iii)   Deposition transcript or exhibit pages containing Confidential

  Material shall be separately bound by the court reporter, who must affix to the top

  of each page the legend “SUBJECT TO PROTECTIVE ORDER” or “ATTORNEY

  EYES ONLY, SUBJECT TO PROTECTIVE ORDER.”

        (d)    Pleadings, Motion Papers, and Written Discovery Papers.

               (i)     A Party may designate as Confidential Material portions of

  pleadings, motion papers (written motions, affidavits and/or declarations, and

  briefs), and written discovery papers (requests and responses).



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               (ii)   A Party preparing written papers containing Confidential

  Information must file and redact such papers in accordance with Paragraph 17 of the

  Parties’ Scheduling Order. If feasible, the Confidential Material shall be bound

  separately from material not entitled to protection.

        (e)    Other Confidential Material. For Confidential Material in a form not

  addressed above (e.g., DVDs, portable hard drives, or other tangible items), the

  Designating Party shall affix in a prominent place on the exterior of the items the

  legend “SUBJECT TO PROTECTIVE ORDER, PRODUCED BY [PARTY

  NAME] IN AMO DEVELOPMENT LLC v. ALCON LENSX INC., D. Del. No. 20-

  842 (CFC)”; or “ATTORNEY EYES ONLY, SUBJECT TO PROTECTIVE

  ORDER, PRODUCED BY [PARTY NAME] IN AMO DEVELOPMENT v. ALCON

  LENSX INC., D. Del. No. 20-842 (CFC)”. If feasible, the legend shall identify the

  portions constituting Confidential Materials.

        (f)    Confidential Material Disclosed by a Non-Party.

               i)     For 30 days after a non-party makes disclosures in this

  Proceeding, the entire disclosure shall be treated as Confidential Material under this

  Order.

               ii)    Within the 30-day period, the non-party or a Party in this Action

  may notify all other Parties that all or specific portions of the disclosure are




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  Confidential Material. Thereafter, the designated portions shall remain subject to

  this Order.

                iii)   In the event that a Party is required, by a valid discovery request

  or the Scheduling Order (D.I. 61), to produce a non-party’s Confidential Material in

  its possession (other than information produced in this litigation by a non-party), and

  the Party is subject to an agreement with the non-party not to produce the non-party’s

  Confidential Information, then the Party shall:

                (a)    promptly provide the non-party with a copy of this Order, the

                       Scheduling Order (D.I. 61) or relevant discovery request(s), and

                       a reasonably specific description of the information requested;

                       and

                (b)    make the information requested available for inspection by the

                       non-party.

                iv)     If the non-party fails to object or seek a protective order from

  the court within fourteen (14) days of receiving the notice and accompanying

  information, the Party may produce the non-party’s Confidential Material responsive

  to the discovery request. If the non-party timely seeks a protective order, the Party

  shall not produce any information in its possession or control that is subject to the

  confidentiality agreement with the non-party before a determination by the court.




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  Absent a court order to the contrary, the non-party shall bear the burden and expense

  of seeking protection in this court of its Confidential Material.

        (g)    Disclosure of Confidential Material Without Confidential Designation.

               (i)    Disclosure of Confidential Material without the required

  confidentiality designation shall not be a waiver in whole or in part of the Disclosing

  Party’s claim of confidentiality, either as to the specific Confidential Material

  disclosed or as to the same or related subject matter. This paragraph and its subparts

  shall be interpreted to provide the maximum confidentiality protection allowed

  under applicable law.

               (ii)   After discovering a failure to make a confidentiality designation,

  the Disclosing Party may give written notice that the material is Confidential

  Material. Receiving Parties then shall treat the material as confidential until the

  Parties agree otherwise, or the Court resolves the issue. The Disclosing Party may

  reproduce the material with the appropriate confidentiality legend, and each

  Receiving Party then shall return or destroy all copies of the identified material,

  including that held by persons to whom the Party distributed the material.

  3.    REQUIRED HANDLING OF CONFIDENTIAL MATERIAL

        (a)    Confidential Material shall not be disclosed to anyone for any purpose

  other than as necessary to support or defend against the claims or defenses in this

  Action, and, in that limited context, shall be disclosed only to Qualified Persons as



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  set out below. Confidential Material shall not be used for any business, competitive,

  or other non-litigation purpose.

        (b)    Each Party and its counsel, and each Qualified Person identified in

  subparagraphs 4(a) through 4(h), Paragraph 5 (other than the Court), and Paragraph

  6 (other than the Court), including any person or entity acting on behalf of, or for the

  benefit of, that Qualified Person, (i) shall not permit or enable unauthorized

  dissemination of Confidential Material to anyone; and (ii) shall take all necessary

  and prudent measures to preserve the security of Confidential Material, including

  measures to minimize risks of hacking of, and other unauthorized access to, systems

  on which Confidential Material is stored or through which it is transmitted.

        (c)    If Confidential Material is disclosed in a manner not authorized by this

  Order, or if an attempt is made to hack or otherwise gain unauthorized access to a

  system containing Confidential Material (jointly, “unauthorized actions”), each

  Party or Qualified Person with knowledge of the unauthorized actions immediately

  shall take necessary and prudent remedial measures to prevent their reoccurrence

  and promptly shall inform the Designating Party of such remedial measures and of

  all facts relating to the unauthorized actions, including identification of all

  Confidential Material disclosed.




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        (d)      Nothing in this Order shall limit any Designating Party’s use of its own

  documents, including disclosure of its own Confidential Material to any person for

  any purpose.

        (e)      Nothing in this Order shall restrict in any way the use or disclosure of

  Discovery Material by a Receiving Party: (i) that is or has become publicly known

  through no fault of the Receiving Party; (ii) that is lawfully acquired by or known to

  the Receiving Party independent of the Producing Party; (iii) previously produced,

  disclosed and/or provided by the Producing Party to the Receiving Party or a non-

  party without an obligation of confidentiality and not by inadvertence or mistake;

  (iv) with the consent of the Producing Party; or (v) pursuant to order of the Court.

  4.    QUALIFIED PERSONS WITH RESPECT TO CONFIDENTIAL
        MATERIAL

        Subject to Paragraph 3 above, Confidential Material (as distinct from Highly

  Confidential Material—Attorney Eyes Only, covered in Paragraph 5 below, and

  Confidential Source Code—Attorney Eyes Only, covered in Paragraph 6 below)

  may be disclosed only to the following Qualified Persons:

        (a)      For each Party, up to four (4) specifically identified in-house counsel,

  disclosed in advance to the other Party, provided that each signs a copy of Exhibit

  A;




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        (b)    The Parties’ outside counsel of record in the Current Litigations,

  including counsel’s partners, employees, and agents of the respective law firms

  assisting in the Current Litigations;

        (c)    Professional litigation support vendors who are under a duty of

  confidentiality, including, but not limited to, outside copy services, graphics support,

  translators, interpreters, discovery hosting, jury consultants, and mock jurors;

  provided, however, that mock jurors may access Confidential Material only after

  signing a copy of Exhibit A;

        (d)    Consultants (i.e., experts or professionals whom counsel has retained

  to provide professional advice or services to assist in preparation for the trial of the

  Action, whether or not designated as a testifying expert) assisting in the Current

  Litigations, and their clerical or support staff who are under a duty of confidentiality,

  but only if (1) the Consultant has been pre-approved according to Paragraph 10; (2)

  the Consultant has first signed a copy of Exhibit A; (3) the Consultant is not a

  Competitor of the Designating Party; and (4) counsel for the Party retaining the

  Consultant, after duly diligent inquiry, does not know of any instance in which the

  Consultant has been found to be in violation of the terms of a protective order in any

  legal proceeding.

        (e)    A witness designated to testify on a Party’s behalf at a deposition or

  pre-trial hearing pursuant to Rule 30(b)(6), but only with respect to Confidential



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  Material produced by the Party designating that witness. This provision does not

  preclude the Designating Party from objecting to or moving to preclude disclosure

  to any witness, or from seeking amendment of this provision in the future.

        (f)    A person identified in the Confidential Material as an author, source,

  addressee, or recipient of the material or who already has a lawfully acquired copy

  of it or, in the case of a witness at deposition, a person who is reasonably believed

  to be an author of the Confidential Material or who, based on his/her deposition

  testimony, reasonably appears to have knowledge relating thereto;

        (g)    Any other person mutually agreed upon among the Parties, but only if

  that person has signed a copy of Exhibit A;

        (h)    Any mediators or arbitrators selected to assist in resolution of this

  matter, and their personnel actively engaged in assisting them, if they have signed a

  copy of Exhibit A; and

        (i)    The Court or any Court personnel, including any court reporters or

  videographers.

  5.    QUALIFIED PERSONS WITH RESPECT TO HIGHLY
        CONFIDENTIAL MATERIAL—ATTORNEY EYES ONLY

        Subject to Paragraph 3 above, Highly Confidential Material—Attorney Eyes

  Only may be disclosed only to the following Qualified Persons:




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        (a)    For each Party, three (3) in-house attorneys representing the Party in

  this Proceeding, to be disclosed in writing to the other Party in advance of any

  disclosure, and only after signing a copy of Exhibit A; and

        (b)    The Qualified Persons described in Paragraphs 4(b) through 4(i) above.

  6.    QUALIFIED PERSONS WITH RESPECT TO CONFIDENTIAL
        SOURCE CODE—ATTORNEY EYES ONLY

        The Parties’ Pre-Discovery Confidentiality Agreement, attached as Exhibit C

  and incorporated herein by reference, governs the disclosure, use of and access to

  Confidential Source Code—Attorney Eyes Only, subject to the following limitations

  detailed herein.

        (a)    For each Party, Confidential Source Code—Attorney Eyes Only may

  be disclosed to the same three (3) in-house attorneys representing the Party in this

  Proceeding detailed in Paragraph 5 (a);

        (b)    Confidential Source Code—Attorney Eyes Only may be used in

  connection with any of the claims or defenses asserted in this Action.

        (c)    The Parties agree that for the purposes of this Protective Order, the

  following sentences of the Parties’ Pre-Discovery Confidentiality Agreement shall

  be modified as follows:




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         Paragraph      Original Sentence                   Modified Sentence
             No.
         ¶ 13(a)   “The Vendor will create eight       “The Vendor will create at
                   local source code machines          least eight and no more than
                   (the     ‘Local      Review         twelve local source code
                   Machines’).”                        machines (the ‘Local Review
                                                       Machines’).”
         ¶ 13(a)     “Each Receiving Party will        “Each Receiving Party will
                     receive four Local Review         receive at least four, and no
                     Machines, along with the          more than six, Local Review
                     credentials necessary to          Machines, along with the
                     access those machines, to         credentials necessary to
                     distribute amongst its team       access those machines, to
                     and experts as it sees fit,       distribute amongst its team
                     provided that only approved       and experts as it sees fit,
                     individuals discussed in          provided that only approved
                     Paragraph 12 have access to       individuals discussed in
                     the Local Review Machines         Paragraph 12 have access to
                     and the distribution is done in   the Local Review Machines
                     accordance to the terms           and the distribution is done in
                     agreed to herein.”                accordance to the terms
                                                       agreed to herein.         Each
                                                       Receiving Party may, at its
                                                       own cost, direct the Vendor to
                                                       create up to eight total Local
                                                       Review Machines for the
                                                       purpose of enabling access for
                                                       up to eight approved
                                                       individuals     pursuant     to
                                                       Paragraph 12.”
         ¶ 13(d)     “Such notes shall be subject to   “Because such notes shall be
                     the use and disclosure            subject to the use and
                     provisions       of        this   disclosure provisions of this
                     Confidentiality Agreement         Confidentiality Agreement
                     and will not be subject to        and will not be subject to
                     review by the Producing           review by the Producing
                     Party.”                           Party, such notes shall be for
                                                       the sole use of the Receiving
                                                       Party and not used to recreate
                                                       the Producing Party’s Source

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                                                      Code for use outside the
                                                      Source Code inspection.”
         ¶ 13(f)(i)   “Absent a showing that more     “Absent a showing that more
                      is reasonably necessary for     is reasonably necessary for
                      purposes of this matter, no     purposes of this matter, no
                      more than 1,500 pages of the    more than 2,500 pages of the
                      total Source Code may be in     total Source Code may be in
                      printed form at any one time,   printed form at any one time,
                      and all printed Source Code     and all printed Source Code
                      shall be logged by the          shall be logged by the
                      Receiving Party.”               Receiving Party.”
         ¶ 12         N/A                             Add paragraph 12(f):
                                                      “(i) any current officer,
                                                      director or employee of the
                                                      Producing Party or original
                                                      source of the information, and
                                                      their outside counsel;
                                                      (ii) any former officer,
                                                      director or employee of the
                                                      Producing Party who was
                                                      employed by the Disclosing
                                                      Party when the Protected
                                                      Information was created or
                                                      last modified, and their
                                                      outside counsel;
                                                      (iii) any person designated by
                                                      the Disclosing Party to
                                                      provide testimony pursuant to
                                                      Rule 30(b)(6) of the Federal
                                                      Rules of Civil Procedure; and
                                                      (iv) any person who authored,
                                                      previously received or was
                                                      directly involved in the
                                                      specific matter(s) addressed
                                                      in the Protected Information
                                                      as evident from its face or
                                                      reasonably certain in view of
                                                      other testimony or evidence,
                                                      and their outside counsel.
                                                      Persons authorized to view

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                                                  Protected           Information
                                                  pursuant to this sub-paragraph
                                                  (f) shall not retain or be given
                                                  copies of the Protected
                                                  Information
                                                  except while in the presence
                                                  of counsel.”
         ¶ 13(f)(ii)   N/A                        Add paragraph 13(f)(ii)(3):
                                                  “Through the use of digital
                                                  streaming        to      persons
                                                  authorized to view Protected
                                                  Information under Paragraph
                                                  12 so long as no digital copy
                                                  of the Protected Information
                                                  is made that enables future
                                                  use.
         ¶ 13          N/A                        Add paragraph 13(g): “The
                                                  Receiving        Party      may
                                                  coordinate with the Vendor to
                                                  retrieve copies of documents
                                                  from the Local Review
                                                  Machines comprising: (i) the
                                                  raw output of any analysis
                                                  performed by a software
                                                  review tool installed on the
                                                  Local Review Machines
                                                  under paragraph 13(e), so
                                                  long as any code contained in
                                                  such output only contains
                                                  excerpts that already exist in
                                                  printed, Bates stamped form
                                                  pursuant to Paragraph 13(f),
                                                  or (ii) work product of one or
                                                  more reviewer of the
                                                  Reviewing Party, so long as
                                                  any code contained in such
                                                  work product only contains
                                                  excerpts that already exist in
                                                  printed, Bates stamped form
                                                  pursuant to Paragraph 13(f).

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                                                        All such documents shall be
                                                        considered work product of
                                                        the Receiving Party and
                                                        treated     as     Protected
                                                        Information in accordance
                                                        with this Confidentiality
                                                        Agreement.       Prior to
                                                        providing such documents to
                                                        the Receiving Party, the
                                                        Vendor must mark each page
                                                        with      ‘CONFIDENTIAL
                                                        SOURCE         CODE        –
                                                        OUTSIDE COUNSEL EYES
                                                        ONLY’.”


        (d)    With the exception of the express modifications to the Parties’ Pre-

  Discovery Confidentiality Agreement specified in this Paragraph, to the extent that

  a provision contained in the Pre-Discovery Confidentiality Agreement conflicts with

  a provision in this Agreement, as it applies to Source Code only, the Pre-Discovery

  Confidentiality Agreement governs.

  7.    PROSECUTION BAR

        Any individual who receives Highly Confidential Material—Attorney Eyes

  Only or Confidential Source Code—Attorney Eyes Only shall not be involved in the

  prosecution of patents or patent applications relating to femtosecond laser-based

  cataract or LASIK eye surgery systems, including without limitation the patents

  asserted in this Action and any patent or application claiming priority to or otherwise

  related to the patents asserted in this Action, before any foreign or domestic agency,



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  including the United States Patent and Trademark Office. For purposes of this

  paragraph, “prosecution” shall be defined as directly or indirectly drafting or

  amending patent claims, or advising others who are drafting or amending patent

  claims regarding the scope of said patent claims. However, the term “prosecution”

  as used in this paragraph excludes representing a party in connection with post-grant

  challenges to the validity of a patent before a domestic or foreign agency (including

  but not limited to inter partes reexaminations, inter partes review, post grant review,

  oppositions to European patents, and patent nullity litigation). This Prosecution Bar

  shall end two years after final termination of this Action, including appeals.

  8.    CHALLENGES TO DESIGNATIONS

        (a)    If a Party challenges a designation, the challenged material shall be

  treated as Confidential Material until the Parties agree otherwise in writing or this

  Court issues an order that the material is not confidential.

        (b)    To challenge confidentiality designations, a Party shall identify in

  writing the specific Confidential Material (by production number, if possible) to

  which each challenge pertains, and the specific bases for each challenge. After

  receiving the challenges, the Designating Party shall have 14 days to state in writing

  whether the designations will be maintained or withdrawn. If the Parties cannot

  resolve all disputes after meeting and conferring, the Designating Party may raise




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  the dispute with the Court in accordance with the discovery dispute procedures set

  forth in the Parties’ Scheduling Order.

        (c)    No Party to this Action shall be obligated to challenge the propriety of

  any designation by any Designating Party, and a failure to do so shall not constitute

  a waiver or in any way preclude a subsequent challenge in this or any other action

  to the propriety of such designation.

  9.    USE OF CONFIDENTIAL MATERIAL IN COURT PRIOR TO
        TRIAL

        (a)    No Party may file with the Court Confidential Material of any other

  Party except when required for motions or other pending matters in the Action.

        (b)    The Party seeking to file Confidential Material shall first meet and

  confer with the Designating Party to identify procedures, consistent with applicable

  court requirements, for filing Confidential Material with the Court.

  10.   APPROVAL TO ACCESS CONFIDENTIAL INFORMATION

        Prior to disclosing Confidential Information to any outside experts or

  consultants, the expert or consultant shall read this Agreement, and the Party seeking

  to disclose such information shall provide written notice to the Party that produced

  it (the “Producing Party”) that includes: (i) the name of the person; (ii) the present

  employer and title of the person; (iii) an up-to-date curriculum vitae; (iv) a list of

  current and past consulting relationships undertaken within the last four (4) years

  (including an identification of each entity consulted, dates of the beginning and end


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  of the consultancy, and identification of any litigation matters in which the

  consultant or expert has testified, by way of expert report, deposition, or testimony

  at a hearing or trial), but excluding legal consulting roles, the existence of which are

  protected from disclosure under the attorney work-product doctrine; and (v) a signed

  copy of Exhibit A. Within five (5) business days of receiving this information, the

  Producing Party may, in good faith, object in writing to its disclosure to the proposed

  expert or consultant for good cause. In the absence of any objection at the end of the

  five (5) business day period, the expert or consultant shall be deemed approved under

  this Agreement. There shall be no disclosure of Confidential Information to the

  disclosed expert or consultant prior to the expiration of this five (5) business day

  period. If an objection is made, the Parties shall meet and confer within four (4)

  business days after the objection and attempt in good faith to resolve the dispute

  informally, and if the dispute cannot be resolved, the objecting party shall file a

  motion with the Court within 14 days after the objection. Confidential Information

  shall not be disclosed to the expert or consultant until the objection is resolved or if

  no motion is filed within the 14-day period. To the extent the outside expert or

  consultant is or may be a non-testifying expert consulted by counsel, no Party will

  be deemed to have waived privilege by disclosing the name of a non-testifying expert

  to whom counsel intends to show Confidential Information. No non-testifying expert




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  disclosed pursuant to this Paragraph will be subject to deposition or subpoena as a

  witness based solely on the fact that he/she was the subject of such disclosure.

  11.   ORDERS, SUBPOENAS, OR REQUESTS FROM NON-PARTIES

        If a person or entity serves a Party in this action with a request, subpoena, or

  order (“demand”) for disclosure of Confidential Material of a Designating Party, the

  Party receiving the demand, if not prohibited under applicable law and within 48

  hours of receipt, shall deliver a copy of the demand to the Designating Party’s

  counsel. The Party shall not disclose any Confidential Material prior to the date

  specified for disclosure. In its sole discretion and at its own cost, the Designating

  Party may oppose or seek to limit the demand in any legal manner. The Party who

  received the demand shall not oppose or otherwise interfere with the Designating

  Party’s actions.

  12.   REDACTIONS

        (a)    Prior to any discovery-related disclosure or production, the Producing

  Party may redact information or material that is protected from disclosure by

  applicable privilege or immunity (see Exhibit B of this Order), that is governed by

  any applicable privacy law or regulation, or that any Order entered in this Action

  allows to be redacted.

        (b)    Methods of Redaction.




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         (i)     Each redaction in a TIFF-image shall be indicated clearly on the Image

                 as being based on “Privilege” or “Other.” “Other” may include

                 information reflecting personal identifying or personal medical

                 information or financial information not relating to the products at issue

                 in this case.

                 (ii)    For Native Files requiring redaction, redacted text shall be

  replaced with the terms “Privilege” or “Other,” and the Producing Party shall

  produce the redacted file either in native format or in an authorized TIFF-image

  format.

                 (iii)   For metadata fields requiring redaction, field content shall be

  replaced by the term “Redacted,” and the modified field shall be included in any

  required .dat file.

         (c)     The terms of sub-paragraph 2(g) above (Disclosure of Confidential

  Material Without Confidential Designation) and of Exhibit B, Paragraph 3

  (Privileged Information) shall apply to any unintentional failure to redact

  information.

  13.    DISPOSITION OF CONFIDENTIAL MATERIAL

        (a)      After final disposition of any appeals or after the time for filing any

  appeal has passed, each Party in the Action promptly shall return to the Designating

  Party its Confidential Material (including on any litigation-support application or in



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  the possession, custody, or control of any person to whom the Party distributed

  Confidential Material), shall destroy it, or otherwise shall comply with an applicable

  order of the Court. Within 30 days of any such action, the Party shall certify in

  writing to the Designating Party that the required return or destruction has been

  completed.

       (b)      As exceptions to the above requirements:

                (i)     Outside counsel of record in the Current Litigations may retain

  Confidential Material in copies of pleadings, motions, or other court-filed papers, in

  official transcripts and exhibits thereto, and in attorney work product, including

  counsels’ email and document management systems. Counsel shall continue to treat

  all such materials as Confidential Material pursuant to the requirements of this

  Order.

                (ii)    Confidential Material stored on backup storage media is

  sequestered. If such data is restored from backup media, the Receiving Party or its

  agent must promptly return or destroy the restored Confidential Material and provide

  the certification required in Paragraph 13(a) above.

                (iii)   This Order shall continue to apply to any such materials retained

  by counsel.




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  14.   ORDER SURVIVES TERMINATION OF ACTION

        This Order constitutes an enforceable agreement between the Parties, their

  agents, and their attorneys and shall be binding after termination of this Action. To

  enforce this Order, the Court shall retain jurisdiction over any person or entity in

  receipt of Confidential Material.

  15.   OTHER PROCEEDINGS

        By entering this Order and limiting the disclosure of information in this case,

  the Court does not intend to preclude another court from finding that information

  may be relevant and subject to disclosure in another case. Any person or Party

  subject to this Order who becomes subject to a motion to disclose another Party’s

  information designated as confidential pursuant to this Order shall promptly notify

  that Party of the motion so that the Party may have an opportunity to appear and be

  heard on whether that information should be disclosed.




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  MORRIS, NICHOLS, ARSHT & TUNNELL LLP       SHAW KELLER LLP

  /s/ Jennifer A. Ward                       /s/ John W. Shaw

  Jack B. Blumenfeld (#1014)                 John W. Shaw (No. 3362)
  Brian P. Egan (#6227)                      Karen E. Keller (No. 4489)
  Jennifer A. Ward (#6476)                   I.M. Pei Building
  1201 North Market Street                   1105 North Market Street
  P.O. Box 1347                              12th Floor
  Wilmington, DE 19899                       Wilmington, DE 19801
  (302) 658-9200                             (302) 298-0700
  jblumenfeld@morrisnichols.com              jshaw@shawkeller.com
  began@morrisnichols.com                    kkeller@shawkeller.com
  jward@morrisnichols.com
                                             Attorneys for Defendants and Counterclaim
  Attorneys for Plaintiffs and               Plaintiffs Alcon LenSx, Inc., Alcon Vision,
  Counterclaim Defendants                    LLC, Alcon Laboratories, Inc. and Alcon
  AMO Development, LLC,                      Research, LLC
  AMO Manufacturing USA, LLC,
  AMO Sales and Service, Inc. and            OF COUNSEL:
  Johnson & Johnson Surgical Vision, Inc.
                                             Jeanne M. Heffernan
  OF COUNSEL:                                KIRKLAND & ELLIS LLP
                                             601 Lexington Avenue
  Michael A. Morin                           New York, NY 10022
  Matthew J. Moore                           (212) 446-4800
  Sarang V. Damle
  Rachel Weiner Cohen                        Gregg F. LoCascio
  Carolyn M. Homer                           Noah S. Frank
  Holly K. Victorson                         KIRKLAND & ELLIS LLP
  Ashley Finger                              1301 Pennsylvania Avenue, N.W.
  LATHAM & WATKINS LLP                       Washington, DC 20004
  555 Eleventh Street, NW, Suite 1000        (202) 389-5000
  Washington, DC 20004
  (202) 637-2200                             Caroline Lourgos
                                             KIRKLAND & ELLIS LLP
  Roger J. Chin                              300 North LaSalle
  Joseph R. Wetzel                           Chicago, IL 60654
  Kristine W. Hanson                         (312) 862-2000
  Allison Harms                              Kristen P.L. Reichenbach

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  LATHAM & WATKINS LLP                      KIRKLAND & ELLIS LLP
  505 Montgomery Street, Suite 2000         555 California Street
  San Francisco, CA 94111                   San Francisco, CA 94104
  (415) 491-0600

  S. Giri Pathmanaban
  LATHAM & WATKINS LLP
  140 Scott Drive
  Menlo Park, CA 94025
  (650) 328-4600

  February 26, 2021




  SO ORDERED this _____ day of February, 2021.




                                      United States District Judge




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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

  AMO DEVELOPMENT, LLC,
  AMO MANUFACTURING USA, LLC
  and AMO SALES AND SERVICE,
  INC.,

                    Plaintiffs,               C.A. No. 20-842 (CFC)
        v.                                    ENDORSEMENT OF
  ALCON LENSX, INC.,                          PROTECTIVE ORDER
  ALCON VISION, LLC,
  ALCON LABORATORIES, INC. and
  ALCON RESEARCH, LLC,

                    Defendants.

  ALCON INC., ALCON LENSX, INC.,
  ALCON RESEARCH, LLC, and
  ALCON VISION, LLC,

                    Counter-Plaintiffs,

        v.

  AMO DEVELOPMENT, LLC,
  AMO MANUFACTURING USA, LLC
  AMO SALES AND SERVICE, INC.,
  and JOHNSON & JOHNSON
  SURGICAL VISION, INC.

                    Counter-Defendants.




                EXHIBIT A: NON-DISCLOSURE AGREEMENT




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        I hereby attest that I understand that information or documents designated as

  Confidential Material are provided to me subject to the Order dated ____________,

  2020 (the “Order”), in the above-captioned action (“the Action”) that I have been

  given a copy of and have read the Order; and that I agree to be bound by its terms. I

  also understand that my signature below indicates my agreement to be bound by the

  Order and is a prerequisite to my review of any information or documents designated

  as Confidential Material pursuant to the Order.

        I further agree that I shall not use Confidential Material for any purpose other

  than as authorized in the Order and that, except as explicitly authorized in the Order,

  I shall not disclose Confidential Material, in any form whatsoever, to others.

        I further agree to return or destroy Confidential Material in my possession,

  custody, or control in the manner and time specified by the Order.

        I further agree and attest to my understanding that my obligation to honor the

  confidentiality of such Confidential Material will continue even after this Action

  concludes.

        I further agree and attest to my understanding that, if I fail to abide by the

  terms of the Order, I may be subject to sanctions, including contempt of court, for

  such failure. I agree to be subject to the jurisdiction of the above-identified Court for

  the purposes of any proceedings relating to enforcement of the Order. I further agree




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  to be bound by and to comply with the terms of the Order as soon as I sign this

  Agreement, regardless of whether the Order has been entered by the Court.



        Date: ___________________________

        By:   ___________________________




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                        EXHIBIT B: PRIVILEGED INFORMATION

        This Exhibit is Exhibit B to the Stipulated Protective Order and shall be

  deemed to be incorporated in the Order as if set forth there in full.

  1.    SPECIFIC PRIVILEGE LOG PROTOCOLS

  (a)   Privilege logs provided in lieu of producing requested documents shall be

        produced no more than 30 days after substantial completion of document

        production, or at another time agreed to by the Parties. In the event that

        documents are produced thereafter, the Parties agree to update their privilege

        logs within a reasonable amount of time, and in no event later than 7 days

        prior to the end of fact discovery. Privilege logs shall be produced in native

        Excel format.

  (b)   No Party shall be required to list on a privilege log any privileged or work-

        product documents prepared for the prosecution or defense of this Action or

        constituting or disclosing communications within clients or between clients

        and their counsel related to this Action. No Party shall be required to list on a

        privilege log any privileged documents prepared on or after March 24, 2020.

  (c)   If a document containing Privileged Information is part of an email thread as

        described in the parties’ ESI Protocol, a Producing Party shall list on the

        privilege log only the most-inclusive email in the thread and shall include in




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        a separate column on the log all information in the ALL_PARTICIPANTS

        field for that email.

  (d)   If application of Rule 26(b)(5) results in a document-by-document listing of

        some or all Privileged Information, the entry for each document shall list the

        following information available for the document:

        (i)     the beginning production number of the document;

        (ii)    the nature of the privilege asserted (e.g., “attorney-client privilege” or

                “attorney work product”);

        (iii)   if known, name(s) of the author(s) of the document;

                (A)   If a document is an email thread, the name of the author on the

                      most inclusive email in the thread shall be listed;

        (iv)    if known, name(s) of the recipient(s) (i.e., persons shown in the TO,

                CC, and BCC fields)

                (A)   If the document is an email chain, name(s) of the recipient(s) on

                      the most recent email in the chain shall be listed, and the content

                      of the ALL_PARTICIPANTS field shall be set out in a separate

                      column;

        (v)     if known, the date the document was created, sent (if applicable), and

                last modified (if applicable);

        (vi)    the document type by file extension;



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        (vii) the custodian(s) of the document; and

        (viii) a brief description of the nature and purpose of the communication

              (e.g., communication seeking legal advice, communication providing

              legal advice, communication regarding legal advice provided by

              counsel), as well as the general subject matter of the communication

              without disclosing any privileged or protected information, in a manner

              that will enable other parties to assess the claim.

  2.    DISCLOSED PRIVILEGED INFORMATION

  (a)   The Parties have agreed that, in this lawsuit, they do not intend to disclose

        Privileged Information. Pursuant to Federal Rule of Evidence 502(d) and 28

        U.S. Code § 1738, any disclosure of Privileged Information (“Disclosed

        Privileged Information”) shall not constitute in this or any other action a

        waiver or forfeiture of any privilege otherwise attaching to the Disclosed

        Privileged Information and its subject matter.

  (b)   Nothing in this Order overrides any attorney’s ethical responsibilities to

        refrain from examining or disclosing materials that the attorney knows or

        reasonably should know to be privileged and to inform the Disclosing Party

        that such materials have been produced.

  (c)   Any party receiving materials that reasonably appear to be Privileged

        Information shall not copy, distribute, or otherwise use such materials in any



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        manner and shall provide prompt notice to the Producing Party to afford an

        opportunity to request return of the materials.

  (d)   If a Disclosing Party notifies the Receiving Party that Privileged Information

        has been disclosed:

        (i)     the Receiving Party shall not, from that point onward, copy, distribute,

                or otherwise use in any manner the Disclosed Privileged Information,

                unless the Parties agree, or the Court orders, otherwise;

        (ii)    the Receiving Party shall instruct all persons to whom the Receiving

                Party has disseminated the Disclosed Privileged Information that such

                information is subject to this Order and may not be copied, distributed,

                or otherwise used; and

        (iii)   the Receiving Party and all persons notified as set out in the preceding

                subparagraph shall, within ten (10) business days:

                (A)   return, destroy, or delete all Disclosed Privileged Information

                      and all notes or other work product revealing its content in the

                      possession, custody, or control of the Receiving Party, its

                      attorneys, or any person to whom the Party provided the

                      Disclosed Privileged Information, and

                (B)   provide a certification of counsel that all Disclosed Privileged

                      Information has been returned, destroyed, or deleted.



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                (C)   For purposes of this Order, Disclosed Privileged Information that

                      is not reasonably accessible under Federal Rules of Civil

                      Procedure 26(b)(2)(B) because it is stored by the Receiving Party

                      on backup storage media is deemed to be sequestered. Should

                      such data be retrieved, the Receiving Party must promptly take

                      steps to delete the restored Disclosed Privileged Information.

  (e)   To contest the claim of attorney-client privilege or work product protection,

        the Receiving Party may—within five (5) business days of receipt of the

        notice of disclosure—raise the dispute with the Court in accordance with the

        discovery dispute procedures set forth at Paragraph 15 of the Scheduling

        Order (“Disclosure Motion”).

        (i)     The Disclosing Party shall retain the burden of establishing its privilege

                or work product claims.

        (ii)    The Disclosure Motion shall be filed or lodged conditionally under seal;

                any Disclosed Privileged Information attached to or disclosed in the

                submission shall be deemed submitted solely for the Court’s in camera

                review.

        (iii)   The Disclosure Motion shall not assert as a ground for entry of such an

                Order the fact or circumstances of the production of Disclosed

                Privileged Information.



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        (iv)   Pending resolution of the Disclosure Motion, the Receiving Party must

               not use the contested information in any way or disclose it to any person

               other than those required by law to be served with a copy of the sealed

               motion.

  (f)   Rule 502. Federal Rule of Evidence (“FRE”) 502(b) is inapplicable to

        Disclosed Privileged Information, which shall receive the maximum

        protection afforded by FRE 502(d). Under FRE 502(d) and 28 U.S. Code

        § 1738, this Order shall be enforceable and granted full faith and credit in all

        other state and federal proceedings. Any subsequent conflict of law analysis

        shall apply the law most protective of privilege and work product.




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                          EXHIBIT C
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                                CONFIDENTIALITY AGREEMENT

         Alcon Inc. and its affiliates, including but not limited to, Alcon Laboratories, Inc., Alcon

  Research, LLC, Alcon LenSx, Inc., Alcon Vision, LLC, Alcon Pharma GmbH, Alcon AG, Alcon

  Eye Care UK Limited, and Alcon SA (collectively, “Alcon”) and Johnson & Johnson Surgical

  Vision, Inc. and its affiliates, including but not limited to AMO Development, LLC, AMO

  Manufacturing USA, LLC, and AMO Sales and Service, Inc. (collectively, “JJSV”) (with Alcon,

  the “Parties”) enter into this Confidentiality Agreement to preserve the confidentiality of the

  Parties’ source code exchanged during pre-discovery source code review. To preserve the

  confidential or proprietary status of such information, each party, through its respective outside

  counsel, agrees as follows:

  Definitions


         1.      “Protected Information” shall refer to all documents or source code, which contain

  non-public, confidential information and/or trade secrets designated pursuant to Paragraph 6 of

  this Confidentiality Agreement. This Confidentiality Agreement also governs the treatment of any

  secondary material, such as pleadings, written discovery, expert reports, notes, summaries or any

  other materials that contain, describe, or reflect such Protected Information.           Protected

  Information shall not include documents that have been disseminated to customers or the

  public without a confidentiality designation.


         2.      “Producing Party” shall refer to any party to this Agreement, or to any third party,

  who discloses, produces, or makes available for inspection any Protected Information.


         3.      “Receiving Party” shall refer to any party who receives Protected Information from

  a Producing Party.
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         4.     The “Current Litigations” are AMO Development, LLC et al. v. Alcon LenSx, Inc.

  et al., No. 20-842-CFC (D. Del.); AMO Development, LLC v. Alcon Pharma GmbH and Alcon

  AG, Case No. 7 O 70/20 at Landgericht Mannheim (District Court Mannheim); and Alcon Eye

  Care UK Limited & Anor v. AMO Development, LLC (Claim No. HP-2020-000028).


  Computation of Time


         5.     The computation of any period of time prescribed or allowed by this Confidentiality

  Agreement shall be governed by the provisions for computing time set forth in Federal Rules of

  Civil Procedure 6.


  Designation of Protected Information


         6.     With respect to all source code made available for inspection under this

  Confidentiality Agreement, the Producing Party may designate such information and items as:


                (a)      “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES

         ONLY” if it comprises or includes confidential, proprietary, or trade secret Source Code.

         “Source Code” shall mean source code (i.e., computer instructions and data definitions

         expressed in a human-readable form), as well as any and all programmer notes,

         annotations, files, and other comments of any type describing, explaining, and/or

         accompanying the code. Provisions regarding the inspection of Source Code are

         outlined in Paragraph 13.


         7.     For the purposes of this Confidentiality Agreement, material marked

  “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES ONLY” will be referred to

  as “Protected Information.” The Producing Party will use reasonable care to avoid designating any


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  document or information as Protected Information that is not entitled to such designation or that is

  generally available to the public. The burden of proving the confidentiality of any information shall

  remain with the party or third party making such designation. The restrictions and obligations set forth

  in this Confidentiality Agreement relating to Protected Information shall not apply to any information

  which (i) a party produces without any confidentiality designation, provided that the party does not

  subsequently designate such information pursuant to this Confidentiality Agreement; (ii) the Parties

  agree, or a court rules, is already public knowledge or has become public knowledge, other than as a

  result of disclosure by the Receiving Party; or (iii) is in the Receiving Party’s legitimate possession

  independent of receiving such information from the Producing Party. Nothing in this Confidentiality

  Agreement prevents the Producing Party from producing such information under a different

  confidentiality designation or in a different format (i.e., by means of production rather than inspection).


                  (a)     Documents filed in court. Any document to be filed in court, which contains

          any Protected Information shall be filed under seal pursuant to the applicable local rules.

          The confidentiality designation shall be included on the first page of such documents.

          Where possible, only the portions of papers containing Protected Information shall be

          requested to be placed under seal when filed with or submitted to a court, and a redacted

          public version shall also be filed. When filing any materials under seal, on the day the

          materials are filed under seal, the filing party shall submit a version containing unapplied

          proposed redactions to the party whose Protected Information is contained within the

          original document. The non-filing party will review and approve or revise the proposed

          redactions within three (3) business days of receiving them. The filing party will then

          submit a public version of the filing to the court within the timeline required by the relevant

          local rules.



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         8.      The scope of this Confidentiality Agreement shall be understood to encompass not

  only those items or things which are expressly designated “CONFIDENTIAL SOURCE CODE –

  OUTSIDE COUNSEL EYES ONLY” but also all documents, copies, excerpts, photographs,

  abstracts, notes, and summaries containing “CONFIDENTIAL SOURCE CODE – OUTSIDE

  COUNSEL EYES ONLY” information, as well as testimony and oral communications containing

  such information. A Party shall not be obligated to challenge the propriety of any designation of

  items or things at the time the designation is made, and a failure to do so shall not preclude a

  subsequent challenge thereto.


  Permitted Disclosure and Use of Protected Information


         9.      Protected Information shall not be distributed, disclosed or made available to

  anyone except as expressly provided in this Confidentiality Agreement. A Producing Party may

  allow exceptions to the restrictions on access and disclosure of its own Protected Information.

  Such exceptions must be provided in writing to all parties.


         10.     Protected Information disclosed under this Confidentiality Agreement may only be

  used to support, or defend against, the copyright infringement claims noticed in Mr. Warren

  Foust’s July 14, 2020 correspondence, which is at issue in the Current Litigations. The Parties

  will endeavor to incorporate these terms into the protective order in any of the Current Litigations

  that involve such copyright infringement claims or defenses. Notwithstanding the foregoing, the

  confidentiality restrictions on the Protected Information agreed to herein shall remain binding on

  the Parties and individuals under Paragraphs 14 and 15. Upon termination of the Current

  Litigations, any Protected Information that does not belong to the Receiving Party shall be

  destroyed within 60 days and certification of such destruction should also be provided by that date.



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  Attorney work product, pleadings, depositions, or expert reports containing Protected Information

  need not be destroyed.


  Secure Storage of Protected Information


         11.     Protected Information must be stored and maintained by a Receiving Party in a

  secure location and manner that ensures that access is limited exclusively to the persons authorized

  under this Confidentiality Agreement.


  Persons Who May Access Protected Information


         12.     Absent the express written consent of the Producing Party, or as further limited by

  this order or further court order, only the individuals specified in Paragraph 12(a)-(e) (and subject

  to the provisions of Paragraphs 14 and 15 below) shall have access to materials designated

  “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES ONLY.”


                 (a)       Outside counsel for the Parties, including any contract attorneys, paralegals,

         technology specialists, and clerical employees of their respective law firms assisting in the

         Current Litigations;


                 (b)       Outside experts and consultants of the Receiving Party who have been pre-

         approved in accordance with Paragraph 15, and their support staff and clerical employees

         assisting in the Current Litigations;


                 (c)       A court or adjudicatory body, its personnel, the jury, court reporters and/or

         videographers who record testimony or other proceedings related to the Current

         Litigations;



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                 (d)     Professional litigation support vendors, including but not limited to copy,

         graphics, translation, database and/or trial support, and jury consulting services

         (“Professional Vendor”), who shall be provided a copy of this Confidentiality Agreement

         and execute Exhibit A, in accordance with Paragraph 14 below; and


                 (e)     Any mediator, arbitrator, or court-appointed neutral for the Current

         Litigations, and his or her staff, subject to their agreement to maintain confidentiality to

         the same degree as required by this Confidentiality Agreement.


  Procedures for Source Code Inspection

         13.     Given the ongoing public health concerns, the Parties have agreed to the following

  remote inspection protocol. The Parties agree that willingness to conduct such a remote review

  during the pandemic does not bind them to doing so once the public health issues recede. A

  Producing Party’s Source Code (as defined in Paragraph 6(a)) being made available for inspection

  may be designated as “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES

  ONLY.” Nothing in this section, however, prevents the Producing Party from producing Source

  Code under a different confidentiality designation or in a different format. Unless the Producing

  Party states otherwise, or unless the parties otherwise agree, Source Code shall be subject to the

  following restrictions and protections:


                 (a)     The Parties’ Source Code will be provided to Special Counsel, Inc., a

         remote source code vendor (the “Vendor”), who will load the Parties’ source code onto a

         read-only folder (the “Source Code Folder”) accessible through virtual machines (“VMs”),

         set up for each reviewer and managed by the Vendor. To ensure integrity of the review,

         the same Source Code Folder will be accessible to all reviewers, through the VMs, who

         are provided access under this Confidentiality Agreement. Each Party may also work with
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        the Vendor to create a folder shared with only the VMs assigned to their reviewers, but

        inaccessible to the VMs assigned to the opposing party’s reviewers, for notes and other

        review-related files. Each Party may further work with the Vendor to set up a folder shared

        with specified VMs assigned to any reviewers from any Party for the purpose of identifying

        Source Code to be requested pursuant to Paragraph 13(f). The Parties will provide the

        Vendor with the identities of individuals who will have access to the source code via the

        VMs, provided those individuals have been approved as discussed in Paragraph 12. The

        Vendor will create eight local source code machines (the “Local Review Machines”). The

        Local Review Machines will be restricted such that there is no Internet access beyond the

        white-listed domains necessary for operation of the VM, including use of any software

        review tools and videoconference monitoring services. The Local Review Machines will

        also be configured to disable all USB connections, screenshots, screen sharing, copy/paste,

        or other ability to transfer any data off of the Local Review Machines. Each Receiving

        Party will receive four Local Review Machines, along with the credentials necessary to

        access those machines, to distribute amongst its team and experts as it sees fit, provided

        that only approved individuals discussed in Paragraph 12 have access to the Local Review

        Machines and the distribution is done in accordance to the terms agreed to herein.


               (b)     To ensure that the Receiving Party does not have unlimited, unmonitored

        access to the Producing Party’s Source Code, inspections will be monitored remotely by a

        staff member of the Vendor (the “Review Supervisor”). When an inspection is not taking

        place, the Vendor shall disable all VM accounts with access to the Source Code Folder.

        When the Receiving Party wishes to review the Producing Party’s Source Code, the

        Receiving Party shall provide notice of one (1) business day to the Vendor and Producing


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        Party. Such notice shall include the estimated start time of the review, estimated duration

        of the review, identification of the Local Review Machine(s) that will be used, and

        identification of the individuals who will be reviewing the Producing Party’s Source Code.

        Inspection will occur on a business day during the hours of 9:00 AM through 9:00 PM

        Eastern Time. The Vendor, at its discretion, may agree to accommodate reasonable

        requests to conduct inspections at other times. Prior to the start of any inspection, the

        Review Supervisor will send a videoconference invite to the Receiving Party. At the time

        of the inspection, to allow the Review Supervisor to visually monitor the inspection, the

        Receiving Party will connect to the videoconference using the Local Review Machine.

        Once the Review Supervisor has verified the identity of the reviewer and that no other

        individuals are able to see the screen of the Local Review Machine, the reviewer’s VM

        account will be enabled and the reviewer may logon to the VM from the Local Review

        Machine and access the Source Code Folder. The Receiving Party shall keep the visual

        stream of the videoconference connected through the duration of the review. In the event

        the visual stream is disconnected, an unapproved reviewer appears in the visual stream, or

        the reviewer leaves the room for more than five (5) minutes, the Review Supervisor may

        disable the reviewer’s account until the connection has been restored, unapproved

        reviewers have been removed from the reviewing room, or the reviewer has returned. The

        camera shall remain on the reviewer, but the camera need only be positioned to observe

        the conduct of the reviewer in the room but shall not be positioned to see the reviewer’s

        precise keystrokes or what files the reviewer is accessing on the Local Review Machine or

        the VM. For avoidance of doubt, the microphone on the Local Review Machine is muted

        during the inspection. Any inspection should be conducted from a private place such as a

        home or office to ensure that only those who have agreed to this Confidentiality Agreement

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        have access to the Local Review Machines. Once the review is complete, the reviewer

        must log out of the Local Review Machine and the VM.


               (c)     Although the Review Supervisor may visually monitor the activities of the

        Receiving Party’s representatives during any Source Code review, such monitoring is only

        to ensure that there is no unauthorized recording, copying, or transmission of the Source

        Code. No recordings may be made of any remote inspection video stream, nor shall the

        monitoring individuals be permitted to report on any activities of the reviewers therein

        other than as may relate to the above-referenced purpose of the monitoring. The Vendor

        shall not monitor the precise keystrokes, mouse clicks, or any other precise activity of any

        reviewer. The Local Review Machines and the VMs shall be configured so that the

        Producing Party may not monitor, or determine, directly or indirectly, (i) the portions of

        source code viewed by the Receiving Party or (ii) the parameters or results of any searches

        or analyses performed by the Receiving Party.


               (d)     During Source Code inspection, the Receiving Party may take notes about

        the Source Code on a non-networked laptop or other non-networked personal electronic

        device, or by pen/pencil and paper. Such notes shall be subject to the use and disclosure

        provisions of this Confidentiality Agreement and will not be subject to review by the

        Producing Party. During the review, the reviewer may not make phone calls except to

        other authorized reviewers. Other than the Local Review Machines and devices used to

        make phone calls to other authorized reviewers, the reviewers shall not use networked

        devices of any kind during a Source Code inspection.          The reviewer may leave the

        room where the review is being conducted to use Internet connected devices or make a

        private phone call.

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               (e)     The Vendor may load select software tools, agreed on by the Parties, on the

        VMs.    These software tools may include text editors, source code analysis tools,

        zip/compression utilities, and multi-file text search tools such as “grep.” Specific tools

        may include (but not be limited to): Eclipse, Notepad++, Source-Navigator, PowerGrep,

        ExamDiff Pro, Understand, Beyond Compare, CodeSuite, Sherlock, JPlag, SIM, Git, SVN,

        or similar programs. The parties agree that the Vendor may “whitelist” certain IP addresses

        and/or URLs if needed for functionality of the software tools. Fully and appropriately

        licensed copies of the software tools must be provided to the Vendor by the Party wishing

        to use such tools. Under no circumstances will a trial version of a software tool be used.

        In no event shall the Receiving Party use any compilers, interpreters or simulators in

        connection with the Producing Party’s Source Code.


               (f)     The Receiving Party shall not e-mail, upload, download, or otherwise

        electronically transmit or electronically store any Source Code, or make any electronic

        copies of the Source Code (including, but not limited to, through use of a camera or imaging

        device) with the exception that the Receiving Party may create a copy of Source Code

        solely on the VMs (to request paper copies of that Source Code or use analytical tools), but

        no copies shall be made in an effort to evade security measures described in this section.

        Paper copies of Source Code shall be subject to the following restrictions:


                       (i)     The Receiving Party may request paper copies of Source Code that

               are reasonably necessary for the preparation of court filings, pleadings, expert

               reports, or other papers, or for deposition or trial. The Producing Party will Bates

               number and keep the originals of these printed documents, and one copy shall be

               made for the Receiving Party within five (5) business days of the Receiving Party’s

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              request. Absent a showing that more is reasonably necessary for purposes of this

              matter, no more than 1,500 pages of the total Source Code may be in printed form

              at any one time, and all printed Source Code shall be logged by the Receiving Party.

              The Producing Party shall provide all such copies of Source Code with bates

              numbers and the label “CONFIDENTIAL SOURCE CODE – OUTSIDE

              COUNSEL EYES ONLY.”


                     (ii)      Any paper copies of Source Code, and any other documents or

              things reflecting Source Code that have been designated by the Producing Party as

              “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES ONLY” may

              not be further copied, digitally imaged or otherwise duplicated except:


                               (1)   Up to five (5) copies may be made by outside counsel for the

                     Receiving Party for the sole purpose of creating paper copies for retention

                     in locked cabinets in multiple offices of outside counsel or offices of experts

                     or consultants who have been pre-approved in accordance with Paragraph

                     15; and


                               (2)   In limited excerpts that the Receiving Party believes, in good

                     faith, are necessary to attach as exhibits to or excerpts within expert reports

                     or court filings. The Receiving Party may file and serve such filings

                     electronically and maintain reasonable electronic copies of such filings, but

                     shall delete all other electronic copies of Source Code from all Receiving

                     Party electronic storage devices.




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                     (iii)   Should the Receiving Party require use of Source Code material at

              deposition or pre-trial hearing, that party shall identify to the Producing Party the

              specific printed pages that may be used at such deposition or hearing at least five

              (5) calendar days before the deposition or pre-trial hearing, and the Producing Party

              will provide copies of those pages of the Source Code at the deposition or pre-trial

              hearing, with bates numbers and label “CONFIDENTIAL SOURCE CODE –

              OUTSIDE COUNSEL EYES ONLY.” The Receiving Party may also request that

              a Local Review Machine be made available for use in a deposition or pre-trial

              hearing by notifying the Producing Party and Vendor of its intent to use a Local

              Review Machine at least five (5) business days before the deposition or pre-trial

              hearing. Following such notification, the Receiving Party may bring one of the

              Local Review Machines to the deposition or pre-trial hearing, and the Vendor will

              be prepared to provide access to the VM through the Local Review Machine during

              the deposition or hearing.     The monitoring and communication requirements

              described in Paragraph 13(b) and (d) are inapplicable to review taking place during

              a deposition or hearing. In any case, no printed pages of Source Code will be

              appended to the transcript of the deposition or hearing as an imaged exhibit or

              otherwise.


                     (iv)    A Producing Party’s Source Code may only be transported by the

              Receiving Party at the direction of a person authorized under Paragraph 12 above

              to another person authorized under Paragraph 12 above, on paper via hand carry,

              Federal Express or other similarly reliable and tracked courier service.




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  Approval to Access to Protected Information


          14.       Professional vendors. Anyone authorized to access “CONFIDENTIAL SOURCE

  CODE – OUTSIDE COUNSEL EYES ONLY” material pursuant to Paragraph 12(d) of this

  Confidentiality Agreement shall read this Confidentiality Agreement and sign the “Undertaking

  Concerning Information Covered By Confidentiality Agreement,” attached as Exhibit A to this

  Confidentiality Agreement, which shall be retained by the signing party’s outside counsel of record

  in this action.


          15.       Outside experts or consultants. Prior to disclosing Protected Information to any

  outside experts or consultants, the expert or consultant shall read this Confidentiality Agreement

  and the party seeking to disclose such information shall provide written notice to the Producing

  Party that includes: (i) the name of the person; (ii) the present employer and title of the person;

  (iii) an up-to-date curriculum vitae; (iv) a list of current and past consulting relationships

  undertaken within the last four (4) years (including an identification of each entity consulted, dates

  of the beginning and end of the consultancy, and identification of any litigation matters in which

  the consultant or expert has testified, by way of expert report, deposition, or testimony at a hearing

  or trial); (v) an indication where the person will access Source Code materials; and (vi) a signed

  copy of the person’s “Undertaking Concerning Information Covered By Confidentiality

  Agreement,” attached as Exhibit A to this Confidentiality Agreement. Within five (5) business

  days of receiving this information, the Producing Party may, in good faith, object in writing to its

  disclosure to the proposed expert or consultant for good cause. In the absence of any objection at

  the end of the five (5) business day period, the expert or consultant shall be deemed approved

  under this Confidentiality Agreement. There shall be no disclosure of Protected Information to

  the disclosed expert or consultant prior to the expiration of this five (5) business day period. If an

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  objection is made, the parties shall meet and confer within four (4) business days after the objection

  and attempt in good faith to resolve the dispute informally. Protected Information shall not be

  disclosed to the expert or consultant until the objection is resolved. To the extent the outside expert

  or consultant is or may be a non-testifying expert consulted by counsel, no party will be deemed

  to have waived privilege by disclosing the name of a non-testifying expert to whom counsel intends

  to show “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES ONLY”

  information. No non-testifying expert disclosed pursuant to this Paragraph will be subject to

  deposition or subpoena as a witness based solely on the fact that he/she was the subject of such

  disclosure.


  Unauthorized Access and Violations of Confidentiality Agreement


         16.       Counsel for the Receiving Party shall promptly notify the Producing Party upon

  becoming aware of any loss, theft and/or unauthorized copying or disclosure of Protected

  Information. This notice shall include a description of identification of all known relevant

  information concerning the nature and circumstances of the unauthorized access (such as the

  persons responsible for making such unauthorized access and the specific information subjected

  to unauthorized access). Receiving Party shall take all steps reasonably necessary and available

  to retrieve such Protected Information and prevent any further unauthorized access or

  dissemination.


         17.       Each individual who receives any Protected Information pursuant to this

  Confidentiality Agreement shall be subject to the jurisdiction of the District of Delaware in any

  action relating to the performance under, compliance with, or violation of this Confidentiality

  Agreement. This Confidentiality Agreement does not alter the burden imposed by law on any

  Party seeking to uphold any limitation on the production or dissemination of materials.
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  Restrictions

         18.     Because the parties are competitors, Protected Information that is designated

  “CONFIDENTIAL SOURCE CODE – OUTSIDE COUNSEL EYES ONLY” may not be used by

  the Receiving Party for any business, commercial, scientific, competitive, or other purpose

  whatsoever (including but not limited to research or development), other than what is necessary to

  support or defend against copyright-related claims or defenses in the Current Litigations.


  Modifications of This Agreement


         19.     Nothing in this Confidentiality Agreement shall preclude any party hereto from

  seeking relief from, or modifications to, this Confidentiality Agreement.


         20.     Any party may terminate this Agreement upon written notice to the other party.

  Within 60 days of the notice, the Receiving Party must destroy, and provide certification of the

  destruction, Protected Information as provided in Paragraph 10.




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  Dated: October 6, 2020
  /s/ Noah S. Frank                           /s/ Jack B. Blumenfeld
  John W. Shaw (No. 3362)                     Jack B. Blumenfeld (#1014)
  Karen E. Keller (No. 4489)                  Brian P. Egan (#6227)
  Nathan R. Hoeschen (No. 6232)               Jennifer A. Ward (#6476)
  SHAW KELLER LLP                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
  I.M. Pei Building                           1201 North Market Street
  1105 North Market Street, 12th Floor        P.O. Box 1347
  Wilmington, DE 19801                        Wilmington, DE 19899
  jshaw@shawkeller.com                        (302) 658-9200
  kkeller@shawkeller.com                      jblumenfeld@mnat.com
  nhoeschen@shawkeller.com                    began@mnat.com
  (302) 298-0700                              jward@mnat.com

  Gregg F. LoCascio, P.C.                     Michael A. Morin
  Noah S. Frank                               Matthew J. Moore
  KIRKLAND & ELLIS LLP                        Sarang V. Damle
  1301 Pennsylvania Avenue, NW                Rachel Weiner Cohen
  Washington, DC 20004                        Carolyn M. Homer
  glocascio@kirkland.com                      Krupa Parikh
  noah.frank@kirkland.com                     Holly K. Victorson
  (202) 389-5000                              Ashley Finger
                                              LATHAM & WATKINS LLP
  Jeannie Heffernan                           555 Eleventh Street, NW, Suite 1000
  KIRKLAND & ELLIS LLP                        Washington, DC 20004
  601 Lexington Avenue                        (202) 637-2200
  New York, NY 10022
  jheffernan@kirkland.com                     Roger J. Chin
  (212) 446-4800                              Joseph R. Wetzel
                                              Allison Harms
  Kristen P.L. Reichenbach                    Kristine W. Hanson
  KIRKLAND & ELLIS LLP                        LATHAM & WATKINS LLP
  555 California Street                       505 Montgomery Street, Suite 2000
  San Francisco, CA 94104                     San Francisco, CA 94111
  kristen.reichenbach@kirkland.com            (415) 491-0600
  (415) 439-1400
                                              Attorneys for Plaintiffs
  Caroline Lourgos
  KIRKLAND & ELLIS LLP
  300 North LaSalle
  Chicago, IL 60654
  caroline.lourgos@kirkland.com
  (312) 862-2000

  ATTORNEYS FOR DEFENDANTS


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      EXHIBIT A: UNDERTAKING CONCERNING INFORMATION COVERED BY
                    THE CONFIDENTIALITY AGREEMENT

         The undersigned hereby acknowledges that he/she has received and read the

  Confidentiality Agreement between Alcon and JJSV and understands the terms and agrees to be

  bound by each of those terms.      Specifically, and without limitation upon such terms, the

  undersigned agrees not to use or disclose any Protected Information made available to him/her

  other than in accordance with said Agreement. The undersigned further submits to the jurisdiction

  of the United States District Court for the District of Delaware for the purposes of the

  Confidentiality Agreement.




    By:____________________________           Of: ____________________________
             (signature line)                           (name of employer)


    _______________________________           Dated:__________________________
      (Type or print name of individual)




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